Case 2:02-cr-20446-.]PI\/| Document 57 Filed 08/31/05 Page 1 of 2 Page|D 47

IN THE UNITED STATES DISTRICT CoURT F"'ED B'*’ l ._ D.c.

FoR THE WESTERN DISTRICT oF TENi\rESSEE0
WESTERN DIvIsIoN 5 AUG 3! H h= 57
UNITED sTATEs 0F AMERICA, ) CL;PW‘§"‘§§§.T§Q}§LD
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_ _ ) W,»'D S!-` :':~.:_ F=n’»'P-H&QUHT
Plamufr, ) ' ""J
)
v. ) No. 02-20446 f M \
)
LASTER AMIKER, )
)
Defendant. )

 

ORDER GRANTING CONTINUED APPOINTMENT OF COUNSEL

 

Before the Court is a Motion for Continued Appointment of Counsel Under Criminal
Justice Act filed by Mr. J. Charles Wilson on August 22, 2005. Mr. Wilson Was appointed by the
6“‘ Circuit Court of Appeals to represent the Defendant on appeal and the 6th Circuit remanded
the matter for resentencing of the Defendant. United States District Judge J on Phipps McCaila
referred the Motion to the Magistrate Judge for disposition. For good cause shown, the Motion is
GRANTED. J. Charles Wilson is appointed to represent the Defendant in connection with the
Defendant’s resentencing

IT IS SO ORDERED.

s. THOMAS ANDER`S’oN
UNITED sTATEs MAGISTRATE JUDGE

Date: dod 3/, ZOOA/

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UNITED sTATE iSTRIC COURT - WETERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:02-CR-20446 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

J. Charles Wilson
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Mobile, AL 36691

Scott F. Leary

U.S. ATTORNEY'S OFFICE
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Honorable J on McCalla
US DISTRICT COURT

